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                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


       Baby Doe et al.,

                      Plaintiffs,
                                                              Civil Action No. 3: 22-cv-49
       v.

       MAST et al.,

                      Defendants,


                                      PROPOSED ORDER

             Having considered the Motion for Protective Order filed by nominal

      defendants the United States Secretary of State Antony Blinken and United States

      Secretary of Defense General Lloyd Austin (“Nominal Defendants”), and for good cause

      shown, it is hereby ORDERED that Nominal Defendants’ Motion is granted. It is

      further ORDERED that Nominal Defendants are not required to respond to requests

      for production served by defendant Richard Mast pursuant to Rule 34, and any such

      discovery is forbidden. Rather, any party seeking discovery from Nominal Defendants

      or any other federal agency must pursue third party discovery from the relevant agency.

             SO ORDERED.

             Dated: ___________                         ___________________
                                                        Joel C. Hoppe
                                                        United States Magistrate Judge
